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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

INRE:

        Roger L. Unger                                    Case No. 18-40443-KKS
                                                          Chapter 7



              MOTION BY REGIONS BANK, SUCCESSOR BY MERGER TO
               AMSOUTH BANK FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                                   OBJECT AND FOR HEARING

             Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this
      paper without further notice or hearing unless a party in interest files a response within
      21 days from the date set forth on the proof of service plus an additional three days for
      service if any party was served by U.S. Mail, or such other period as may be specified in
      Fed. R. Bankr. P. 9006(f).

             If you object to the relief requested in this paper, you must file an objection or
      response electronically with the Clerk of the Court or by mail at 110 E. Park Avenue,
      Suite 10, Tallahassee, FL, 32301 and serve a copy on the movant's attorney, Leslie S.
      White, Esq., 420 S. Orange Avenue, Suite 700, Orlando, FL 32801 other appropriate
      person within the time allowed. If you file and serve a response within the time
      permitted, the Court will either schedule and notify you of a hearing or consider the
      response and grant or deny the relief requested without a hearing.

               If you do not file a response within the time permitted, the Court will consider
      that you do not oppose the relief requested in the paper, will proceed to consider the
      paper without further notice or hearing, and may grant the relief requested.




        Regions Bank, Successor by Merger to Amsouth Bank, ("Creditor"), by and

through its undersigned attorney, moves the Court to grant it Relief from the Automatic

Stay imposed by Sections 362 of the Bankruptcy Code, and as grounds therefore would

show:


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        1.    The Debtors filed a Petition under Chapter 7 of the Bankruptcy Code on

August 20, 2018. And this Court has jurisdiction pursuant to 11 U.S.C. Sections 101 et

seq. and 28 U.S.C. Section 157(a). Sherry Chancellor is the Trustee in this Case.


              2.     Creditor owns and holds a Credit Agreement and Disclosure, Credit

Agreement and Disclosure Change in Terms Agreement ("Note"), a Mortgage, and a

Modification of Mortgage granting it a security interest in the property owned by the

Debtors. A copy of the Note, Mortgage and Modification of Mortgage are attached

hereto as Exhibit A, B and C and are incorporated herein by reference.

              3.     The property which is the subject of this Motion and subject to

Creditor's interest is described as: LOT(S) 7, BLOCK A OF PINE GROVE, AS

RECORDED IN PLAT BOOK 3, PAGE 15 ET SEQ., OF THE PUBLIC

RECORDS OF LEON COUNTY, FLORIDA, and located at 504 Truett Drive,

Tallahassee, FL 32303 in Leon County.

              4.     The amount of the debt secured by the lien is $171,385.46. Creditor

lacks adequate protection for its security protection in the property.

              5.     The loan is due for the June 14, 2018 payment and all subsequent

payments.

              6.     The property has been surrendered to Creditor, or the Debtors

have indicated an intention to surrender the property to Creditor.              Creditor's

Affidavit as to Surrendered Property is attached hereto as Exhibit C.




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              7.     Movant requests a waiver of the fourteen ( 14) days stay under Rule

400l(a)(3) of the Order Granting Relief so that Movant may pursue in rem remedies

without further delay.

              8.     The time required for a hearing on this Motion is ten (10) minutes.

        WHEREFORE, Creditor, Regions Bank, Successor by Merger to Amsouth Bank,

respectfully requests this Court to enter an Order which modifies the Automatic Stay and

permits Creditor to perfect its security interest in the property, accelerate the balance due

under the Contract, take possession of, foreclose its interest in, and dispose of the

property, furnish notices to Debtors regarding date of sale and proceeds of sale, pursuant

to the terms of the Contract and state law, and for any and such other further relief as this

Court deems just and equitable.


                                                       AD, EGERTON, BLOODWORTH,
                                                         & BOZARTH, P.A.
                                                       r Creditor


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SEND MAIL TO:                                Le 1e . White, for the firm
Dean, Mead, Egerton, Bloodworth,             Florida Bar No. 521078
Capouano & Bozarth, P.A.                    Telephone 407-841-1200
Attn: Leslie S. White                        Facsimile 407-423-1831
Post Office Box 2346                         primary email: lwhite@deanmead.com
Orlando, FL 32802-2346                      secondary email: bransom@deanmead.com




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